               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                 2:11 mj 22


UNITED STATES OF AMERICA,                      )
                                               )
Vs.                                            )             ORDER
                                               )
(1) NICHOLAS SCOTT HINKEY,                     )
(2) DAVID WAYNE WILSON,                        )
                                               )
                  Defendants.                  )
________________________________________       )


      THIS MATTER is before the undersigned pursuant to motions to continue

(#40)(#41) the sentencing hearings that have been set in each of these cases by

respective counsel for defendants.       This Court has attempted to schedule the

sentencing hearings in these cases as expeditiously as possible so that the matters may

be resolved and has considered the requests of counsel for each defendant in regard

to not only the date and time but also the place of sentencing. Unfortunately, it does

not appear this Court can fashion an Order that is satisfactory and as a result the Court

will enter the following Order:

                                       ORDER

      IT IS, THEREFORE, ORDERED:

      1)     That the Unopposed Motion to Continue Sentencing Hearing” (#41) is

hereby ALLOWED and the sentencing hearing of both defendant Wilson and

defendant Hinkey is continued; and



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      2)     That counsel for each defendant and the United States Attorney shall

confer jointly on or before August 14, 2012 and they shall provide jointly to the Court

a date upon which these cases can be set for a sentencing hearing in the United States

District Court in Bryson City, North Carolina. The Court will then enter an Order

setting the time for the sentencing hearings. The sentencing hearings in this matter

shall be held at a date on or before September 18, 2012.



                                          Signed: August 6, 2012




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